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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                                                              SAN JOSE DIVISION
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                                  12     FEDERAL TRADE COMMISSION,                           Case No. 17-CV-00220-LHK
Northern District of California
 United States District Court




                                  13                    Plaintiff,                           ORDER REGARDING POSSIBLE
                                                                                             UNITED STATES GOVERNMENT
                                  14             v.                                          CESSATION
                                  15     QUALCOMM INCORPORATED,
                                  16                    Defendant.

                                  17

                                  18          Should the continuing resolution that has been funding the Federal Trade Commission

                                  19   (“FTC”) expire and appropriations to the FTC lapse, the Court will not stay this litigation and will

                                  20   proceed to trial on January 4, 2019. This Order shall constitute express legal authorization for the

                                  21   FTC to continue to prepare for trial despite any lapse in appropriations to the FTC. The FTC shall

                                  22   file a statement with the Court by December 19, 2018 as to whether this Order is sufficient for the

                                  23   FTC to continue its activities in this case or whether the FTC will need to file a motion to stay the

                                  24   litigation after appropriations have lapsed. For planning purposes, the FTC in its December 19,

                                  25   2018 statement should indicate when it would file such a motion.

                                  26   IT IS SO ORDERED.

                                  27   Dated: December 17, 2018

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                                       Case No. 17-CV-00220-LHK
                                       ORDER REGARDING POSSIBLE UNITED STATES GOVERNMENT CESSATION
                                        Case 5:17-cv-00220-LHK Document 1010 Filed 12/17/18 Page 2 of 2




                                   1                                         ______________________________________
                                                                             LUCY H. KOH
                                   2                                         United States District Judge
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Northern District of California
 United States District Court




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                                       Case No. 17-CV-00220-LHK
                                       ORDER REGARDING POSSIBLE UNITED STATES GOVERNMENT CESSATION
